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Note: The Monthly Operating Report (“MOR”) was based on the books and records of the Debtor and has been submitted by the Chapter 11
Trustee, Stephen21-22108-shl         Doc 628 relating
                 Gray, however, all transactions Filedto07/20/22       Enteredherein
                                                         prior periods reflected 07/20/22   16:51:34
                                                                                     were prior             Main
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                                                                                                                 appointment on May 31, 2022.
                                                                Pg 4 of 90
      Debtor's Name 96 Wythe Acquisition LC                                                          Case No. 21-22108


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Note: The Monthly Operating Report (“MOR”) was based on the books and records of the Debtor and has been submitted by the Chapter 11
               21-22108-shl
Trustee, Stephen Gray, however, all Doc   628 relating
                                    transactions Filed to07/20/22
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      Debtor's Name 96 Wythe Acquisition LC                                                            Case No. 21-22108


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      UST Form 11-MOR (12/01/2021)                                    6
Note: The Monthly Operating Report (“MOR”) was based on the books and records of the Debtor and has been submitted by the Chapter 11
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Trustee, Stephen                    Doc 628 relating
                 Gray, however, all transactions Filedto07/20/22
                                                         prior periods Entered    07/20/22
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      Debtor's Name 96 Wythe Acquisition LC                                                            Case No. 21-22108


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Debtor's Name 96 Wythe Acquisition LC                                        Case No. 21-22108




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                                                      Bankruptcy1to50




                                                     Bankruptcy51to100




                                                    NonBankruptcy1to50




                                                   NonBankruptcy51to100




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11:18 PM                                                                          The Williamsburg Hotel
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                                                                         Reconciliation       Detail 07/20/22 16:51:34                                        Main Document
                                                      1103100 · TD DIP Operating Account...0935, Period Ending 04/30/2022
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                                                                           Type            Date          Num                          Name                Clr     Amount
                   Beginning Balance                                                                                                                            1,601,115.15


                   Cleared Transactions   Checks and Payments
                   Cleared Transactions   Checks and Payments         Check             04/01/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -0.27
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/04/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B              -8,292.08
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/04/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                -988.35
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/04/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                -679.28
                   Cleared Transactions   Checks and Payments         Check             04/07/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -0.61
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 8RTL                         -61,983.96
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 1RTL                         -11,918.80
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 7RTL                          -6,526.80
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 2RTL                          -4,422.36
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 4RTL                          -2,365.09
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 5RTL                            -154.50
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/08/2022   ACH           Con Edison New - 3RTL                            -154.50
                   Cleared Transactions   Checks and Payments         Check             04/11/2022   ACH           FISERV MERCHANT CHARGEBACKS 1884 F&B              -80.31
                   Cleared Transactions   Checks and Payments         Check             04/13/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -1.16
                   Cleared Transactions   Checks and Payments         Check             04/20/2022   ACH           FISERV MERCHANT CHARGEBACKS 1884 F&B             -400.00
                   Cleared Transactions   Checks and Payments         Check             04/20/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -1.37
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   ACH           Con Edison New - 8RTL                         -31,333.22
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   ACH           Con Edison New - 8RTL                          -1,311.02
                   Cleared Transactions   Checks and Payments         Check             04/22/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -0.17
                   Cleared Transactions   Checks and Payments         Check             04/25/2022   ACH           FISERV MERCHANT CHARGEBACKS 1884 F&B               -6.64
                   Cleared Transactions   Checks and Payments         Check             04/25/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -1.66
                   Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/27/2022   ACH           U.S. Trustee                                  -41,110.00
                   Cleared Transactions   Checks and Payments         Check             04/28/2022   ACH           FISERV MERCHANT SERVICES 1884 F&B                  -0.20
                   Cleared Transactions   Total Checks and Payments                                                                                              -171,732.35


                   Cleared Transactions   Deposits and Credits
                   Cleared Transactions   Deposits and Credits        General Journal   03/29/2022   DR 03-29-22   Daily Revenue                                   5,767.64
                   Cleared Transactions   Deposits and Credits        General Journal   03/29/2022   DR 03-29-22   Daily Revenue                                 37,199.56
                   Cleared Transactions   Deposits and Credits        General Journal   03/30/2022   DR 03-30-22   Daily Revenue                                    807.36
                   Cleared Transactions   Deposits and Credits        General Journal   03/30/2022   DR 03-30-22   Daily Revenue                                   9,958.36
                   Cleared Transactions   Deposits and Credits        General Journal   03/31/2022   DR 03-31-22   Daily Revenue                                   8,952.05
                   Cleared Transactions   Deposits and Credits        General Journal   03/31/2022   DR 03-31-22   Daily Revenue                                 40,449.44
                   Cleared Transactions   Deposits and Credits        General Journal   04/01/2022   WIRE40122-2                                                 22,459.31
                   Cleared Transactions   Deposits and Credits        General Journal   04/01/2022   DR 04-01-22   Daily Revenue                                 25,874.36
                   Cleared Transactions   Deposits and Credits        General Journal   04/01/2022   WIRE40122                                                   26,298.84
                   Cleared Transactions   Deposits and Credits        General Journal   04/01/2022   DR 04-01-22   Daily Revenue                                 75,512.25
                   Cleared Transactions   Deposits and Credits        General Journal   04/02/2022   DR 04-02-22   Daily Revenue                                 27,177.01
                   Cleared Transactions   Deposits and Credits        General Journal   04/02/2022   DR 04-02-22   Daily Revenue                                 30,932.75
                   Cleared Transactions   Deposits and Credits        General Journal   04/03/2022   DR 04-03-22   Daily Revenue                                 17,966.60
                   Cleared Transactions   Deposits and Credits        General Journal   04/03/2022   DR 04-03-22   Daily Revenue                                105,497.58
                   Cleared Transactions   Deposits and Credits        General Journal   04/04/2022   DR 04-04-22   Daily Revenue                                   6,059.79
                   Cleared Transactions   Deposits and Credits        General Journal   04/04/2022   DR 04-04-22   Daily Revenue                                 34,694.88
                   Cleared Transactions   Deposits and Credits        General Journal   04/05/2022   DR 04-05-22   Daily Revenue                                   5,409.45
                   Cleared Transactions   Deposits and Credits        General Journal   04/05/2022   REV 040522                                                    7,500.00
                   Cleared Transactions   Deposits and Credits        General Journal   04/05/2022   DR 04-05-22   Daily Revenue                                 26,803.15
                   Cleared Transactions   Deposits and Credits        General Journal   04/06/2022   DR 04-06-22   Daily Revenue                                   5,390.55
                   Cleared Transactions   Deposits and Credits        General Journal   04/06/2022   DR 04-06-22   Daily Revenue                                 49,169.76
                   Cleared Transactions   Deposits and Credits        General Journal   04/07/2022   DR 04-07-22   Daily Revenue                                   7,276.62
                   Cleared Transactions   Deposits and Credits        General Journal   04/07/2022   DR 04-07-22   Daily Revenue                                 25,079.69
                   Cleared Transactions   Deposits and Credits        General Journal   04/07/2022   WIRE040722                                                  34,733.52
                   Cleared Transactions   Deposits and Credits        General Journal   04/08/2022   DR 04-08-22   Daily Revenue                                 36,987.45
                   Cleared Transactions   Deposits and Credits        General Journal   04/08/2022   DR 04-08-22   Daily Revenue                                 46,316.28
                   Cleared Transactions   Deposits and Credits        General Journal   04/09/2022   DR 04-09-22   Daily Revenue                                 29,789.78
                   Cleared Transactions   Deposits and Credits        General Journal   04/09/2022   DR 04-09-22   Daily Revenue                                 40,416.99
                   Cleared Transactions   Deposits and Credits        General Journal   04/10/2022   DR 04-10-22   Daily Revenue                                 17,007.54
                   Cleared Transactions   Deposits and Credits        General Journal   04/10/2022   DR 04-10-22   Daily Revenue                                 62,444.72
                   Cleared Transactions   Deposits and Credits        General Journal   04/11/2022   DR 04-11-22   Daily Revenue                                   5,010.26
                   Cleared Transactions   Deposits and Credits        General Journal   04/11/2022   WIRE041122                                                  34,527.13
                   Cleared Transactions   Deposits and Credits        General Journal   04/11/2022   DR 04-11-22   Daily Revenue                                 48,227.64
                   Cleared Transactions   Deposits and Credits        General Journal   04/12/2022   DR 04-12-22   Daily Revenue                                   8,151.65
                   Cleared Transactions   Deposits and Credits        General Journal   04/12/2022   DR 04-12-22   Daily Revenue                                 38,497.35
                   Cleared Transactions   Deposits and Credits        General Journal   04/13/2022   DR 04-13-22   Daily Revenue                                   9,075.08
                   Cleared Transactions   Deposits and Credits        General Journal   04/13/2022   DR 04-13-22   Daily Revenue                                 73,512.76
                   Cleared Transactions   Deposits and Credits        General Journal   04/14/2022   DR 04-14-22   Daily Revenue                                 17,486.39
                   Cleared Transactions   Deposits and Credits        General Journal   04/14/2022   DR 04-14-22   Daily Revenue                                 39,654.65
                   Cleared Transactions   Deposits and Credits        General Journal   04/15/2022   WIRE041522                                                  20,660.42
                   Cleared Transactions   Deposits and Credits        General Journal   04/15/2022   DR 04-15-22   Daily Revenue                                 27,801.12
                   Cleared Transactions   Deposits and Credits        General Journal   04/15/2022   DR 04-15-22   Daily Revenue                                 64,227.06
                   Cleared Transactions   Deposits and Credits        General Journal   04/16/2022   DR 04-16-22   Daily Revenue                                 22,052.76
                   Cleared Transactions   Deposits and Credits        General Journal   04/16/2022   DR 04-16-22   Daily Revenue                                 35,399.64
                   Cleared Transactions   Deposits and Credits        General Journal   04/17/2022   DR 04-17-22   Daily Revenue                                 24,916.79
                   Cleared Transactions   Deposits and Credits        General Journal   04/17/2022   DR 04-17-22   Daily Revenue                                 85,641.29
                   Cleared Transactions   Deposits and Credits        General Journal   04/18/2022   DR 04-18-22   Daily Revenue                                   3,920.62
                   Cleared Transactions   Deposits and Credits        General Journal   04/18/2022   DR 04-18-22   Daily Revenue                                 68,833.08
                   Cleared Transactions   Deposits and Credits        General Journal   04/19/2022   WIRE041922                                                    1,347.33
                   Cleared Transactions   Deposits and Credits        General Journal   04/19/2022   DR 04-19-22   Daily Revenue                                 10,453.78
                   Cleared Transactions   Deposits and Credits        General Journal   04/19/2022   DR 04-19-22   Daily Revenue                                 54,770.45
                   Cleared Transactions   Deposits and Credits        General Journal   04/20/2022   DR 04-20-22   Daily Revenue                                 11,550.07
                   Cleared Transactions   Deposits and Credits        General Journal   04/20/2022   DR 04-20-22   Daily Revenue                                 30,029.10
                   Cleared Transactions   Deposits and Credits        General Journal   04/21/2022   DR 04-21-22   Daily Revenue                                   9,479.13
                   Cleared Transactions   Deposits and Credits        General Journal   04/21/2022   WIRE042122                                                  30,495.24
                   Cleared Transactions   Deposits and Credits        General Journal   04/21/2022   DR 04-21-22   Daily Revenue                                 54,346.40
                   Cleared Transactions   Deposits and Credits        General Journal   04/22/2022   WIRE042222                                                  12,563.22
                   Cleared Transactions   Deposits and Credits        General Journal   04/22/2022   DR 04-22-22   Daily Revenue                                 33,529.89
                   Cleared Transactions   Deposits and Credits        General Journal   04/22/2022   DR 04-22-22   Daily Revenue                                 63,134.50
                   Cleared Transactions   Deposits and Credits        General Journal   04/23/2022   DR 04-23-22   Daily Revenue                                 32,646.89
                   Cleared Transactions   Deposits and Credits        General Journal   04/23/2022   DR 04-23-22   Daily Revenue                                 55,164.59
                   Cleared Transactions   Deposits and Credits        General Journal   04/24/2022   DR 04-24-22   Daily Revenue                                 13,999.11
                   Cleared Transactions   Deposits and Credits        General Journal   04/24/2022   DR 04-24-22   Daily Revenue                                 67,128.97
                   Cleared Transactions   Deposits and Credits        General Journal   04/25/2022   DR 04-25-22   Daily Revenue                                   5,453.33
                   Cleared Transactions   Deposits and Credits        General Journal   04/25/2022   DR 04-25-22   Daily Revenue                                 70,678.17
                   Cleared Transactions   Deposits and Credits        General Journal   04/26/2022   Puls15        Pulsd Inc.                                          0.01
                   Cleared Transactions   Deposits and Credits        General Journal   04/26/2022   DR 04-26-22   Daily Revenue                                   5,134.77
                   Cleared Transactions   Deposits and Credits        General Journal   04/26/2022   WIRE042622                                                    5,613.87




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                                                                                         Type            Date         Num                        Name   Clr     Amount

                   Cleared Transactions                Deposits and Credits         General Journal   04/26/2022   DR 04-26-22   Daily Revenue                 39,443.75
                   Cleared Transactions                Deposits and Credits         General Journal   04/28/2022   WIRE042822                                  32,681.85
                   Cleared Transactions                Total Deposits and Credits                                                                             2,137,173.39
                   Total Cleared Transactions                                                                                                                 1,965,441.04


                   Uncleared Transactions              Checks and Payments
                   Uncleared Transactions              Checks and Payments          General Journal   04/30/2022   DR 04-30-22   Daily Revenue                 -10,013.20
                   Uncleared Transactions              Total Checks and Payments                                                                                -10,013.20


                   Uncleared Transactions              Deposits and Credits         General Journal   02/18/2022   DR 02-18-22   Daily Revenue                    3,409.26
                   Uncleared Transactions              Deposits and Credits         General Journal   04/27/2022   DR 04-27-22   Daily Revenue                 13,820.17
                   Uncleared Transactions              Deposits and Credits         General Journal   04/27/2022   DR 04-27-22   Daily Revenue                 37,980.98
                   Uncleared Transactions              Deposits and Credits         General Journal   04/28/2022   DR 04-28-22   Daily Revenue                 10,780.21
                   Uncleared Transactions              Deposits and Credits         General Journal   04/28/2022   DR 04-28-22   Daily Revenue                 59,712.31
                   Uncleared Transactions              Deposits and Credits         General Journal   04/29/2022   DR 04-29-22   Daily Revenue                 26,421.98
                   Uncleared Transactions              Deposits and Credits         General Journal   04/29/2022   DR 04-29-22   Daily Revenue                 38,666.40
                   Uncleared Transactions              Deposits and Credits         General Journal   04/30/2022   DR 04-30-22   Daily Revenue                 44,858.03
                   Uncleared Transactions              Total Deposits and Credits                                                                              235,649.34
                   Total Uncleared Transactions                                                                                                                225,636.14


                   Register Balance as of 04/30/2022                                                                                                          2,191,077.18




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                                            Reconciliation
                                                   Pg 16 of 90 Detail
                       1103110 · TD DIP Secondary Account...0927, Period Ending 04/30/2022
                                                            Type   Date   Num    Name        Clr    Amount
   Beginning Balance                                                                               866,903.53
   Cleared Balance                                                                                 866,903.53
   Register Balance as of 04/30/2022                                                               866,903.53




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                                                   1103500 TD Mgmt Main Account...1596, Period Ending 04/30/2022
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                                                                   Type             Date      Num                         Name                   Clr    Amount
               Beginning Balance                                                                                                                        52,071.12


               Cleared Transactions   Checks and Payments
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   01/27/2022   3114   Mr & Mrs Smith                                        -89.64
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   01/28/2022   3149   Les ie Estrada                                        -43.58
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   02/04/2022   3183   Timothy Sharp                                      -1,850.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/04/2022   3375   Timothy Sharp                                      -1,400.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/04/2022   3373   Fall Family LLC                                     -624.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/04/2022   3415   Blue Moon Acres                                     -253.60
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/04/2022   3378   Supertaste Music LLC.                               -200.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/11/2022   3391   Fall Family LLC                                     -656.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/18/2022   3454   Creative One Inc.                                  -3,570.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/18/2022   3449   Sarah Cabral                                        -950.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/18/2022   3440   Fall Family LLC                                     -640.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/18/2022   3445   Enrique Cazares                                     -226.20
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3479   Green Oil Recyc ing                                -1,524.25
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3477   Hoodz of Nassau                                    -1,339.16
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3463   LM Media Worldwide, LLC.                           -1,182.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3465   D'Artagnan                                         -1,151.66
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3482   Aurora Hardware and Locksmith                      -1,045.31
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3478   Lightning Mechanical                                -865.56
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3469   Coffee of Grace                                     -625.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3468   Blue Moon Acres                                     -349.65
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/22/2022   3471   Fine & Raw Chocolate                                -105.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3490   Trave Click                                        -5,171.48
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3488   Magma Gobal 2                                      -4,530.57
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3493   JC & JC Cleaners Inc. (The Dry Cleaner)            -4,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3492   Protek                                             -2,313.77
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3491   Mann Sales LLC                                     -2,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/24/2022   3487   HRS GmbH                                           -1,078.62
               Cleared Transactions   Checks and Payments      Check             03/24/2022   3489   Raimondi Law, P.C.                                 -1,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3514   Charter Linen & Laundry Service -Next Gen          -4,063.29
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3516   JC & JC Cleaners Inc. (The Dry Cleaner)            -3,981.60
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3513   Joe's Fabric Warehouse                             -3,919.50
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3509   RMAC Supplies Co.                                  -3,818.76
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3517   Revival New York                                   -3,223.79
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3526   Krinsky Design                                     -2,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3523   Complete Equipment Rentals                         -2,252.84
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3510   Front Desk Supply                                  -2,237.48
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3525   Screening One                                      -2,036.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3515   La Bottega Dell'Albergo USA Inc                    -1,762.48
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3522   Calidad K tchen Installation                       -1,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3520   D'Artagnan                                         -1,312.22
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3512   Moviebeam                                          -1,280.63
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3524   Arcade                                             -1,134.38
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3521   GdeP Inc.                                           -977.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3505   Fall Family LLC                                     -644.80
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3506   Nick Bie lo                                         -520.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3500   Basic Music LLC                                     -500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3511   Guest Supply, LLC                                   -459.24
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/25/2022   3503   Timothy Sharp                                       -400.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/29/2022   3529   Steelways, Inc.                                    -7,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/30/2022   3535   Fall Family LLC                                     -592.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/31/2022   3537   Hoodz of Nassau                                    -4,427.95
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/31/2022   3536   Jonathan Tsirlin                                   -2,798.69
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/31/2022   3618   Rifka Buls                                         -1,084.60
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   03/31/2022   3617   Boruch Bergman                                      -318.08
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3590   TechGrass                                         -12,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3572   International Tile                                 -5,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3548   Royal Waste Services                               -4,697.96
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3574   Rifka Buls                                         -4,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3566   The Social Secretary LLC                           -4,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3576   RMAC Supplies Co.                                  -3,901.88
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3578   Charter Linen & Laundry Service -Next Gen          -3,483.24
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3587   I. Halper                                          -2,890.15
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3555   Dr Shade Design Inc                                -2,613.50
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3580   Gray Matter Networks                               -2,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3539   Coffee of Grace                                    -2,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   Wire   Mint Development...0696                            -2,399.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3546   Champion Elevator Corp.                            -2,361.69
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3570   Safety Fire Sprinkler Corp.                        -2,313.60
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3545   The Regency Group                                  -2,176.51
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3549   Protek                                             -2,099.49
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3568   Mann Sales LLC                                     -2,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3581   Mann Sales LLC                                     -2,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3586   GdeP Inc.                                          -1,873.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3577   Innovative Hospitality Concepts, Inc.              -1,867.50
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3565   Mill Lane Nursery Inc.                             -1,824.81
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3557   Wh te Plains Linen                                 -1,624.11
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3550   Lemofet Glass Inc.                                 -1,589.62
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3564   Boruch Bergman                                     -1,565.61
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3573   Karine Kochariani                                  -1,247.75
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3538   Y&T Enterprises of Rockland                        -1,238.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3542   Balter Sales Co.                                   -1,216.36
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3569   City Marshal Henry Daley                           -1,200.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3558   Brouqueline, LLC                                   -1,200.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3584   Aurora Hardware and Locksmith                      -1,062.35
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3554   Merv Filters LLC                                    -954.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3551   Tov Cooling of Brooklyn Inc.                        -925.44
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3563   Creative One Inc.                                   -910.00




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11:37 PM                                                          The Williamsburg Hotel
07/07/22
       21-22108-shl           Doc 628             Filed 07/20/22             Entered
                                                                  Reconciliation      Detail 07/20/22 16:51:34                                         Main Document
                                                   1103500 TD Mgmt Main Account...1596, Period Ending 04/30/2022
                                                                    Pg 18 of 90

                                                                   Type             Date      Num                         Name                   Clr    Amount

               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3585   D'Artagnan                                          -719.20
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3552   County Fire Inc.                                    -624.21
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3571   A&S Chair & Party Rental                            -615.14
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3575   Cristian Ramirez                                    -600.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3562   Nick Bie lo                                         -520.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3547   Croker Fire Drill Corporation                       -470.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3582   Target Exterminating Inc.- Hotel                    -435.50
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3560   Michael Lee                                         -400.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3561   Supertaste Music LLC.                               -400.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3541   Manhattan Beer Distributors                         -345.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3567   Amanda Moore-Honigsberg                             -342.10
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3583   Approved Oil Company                                -187.33
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3616   Jonathan Tsirlin                                    -103.01
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3544   A lbridge (DCI-Design)                                -55.00
               Cleared Transactions   Checks and Payments      Check             04/01/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3556   Goran Remes                                           -22.45
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/01/2022   3615   Milagros Cornejo                                      -19.46
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/04/2022   3507   Kostas Upholstery                                 -13,022.50
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/04/2022   ACH    Empire Blue Cross Blue Shield                      -1,968.26
               Cleared Transactions   Checks and Payments      Check             04/04/2022   ACH    Ascentium Cap tal                                  -1,249.32
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/04/2022   ACH    Winebow, Inc                                       -1,008.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/04/2022   ACH    Elavon                                              -295.92
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/04/2022   3589   Rich Greene                                         -150.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/05/2022   ACH    Riviera Produce                                    -4,902.55
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/05/2022   ACH    Riviera Produce                                    -4,658.11
               Cleared Transactions   Checks and Payments      Check             04/06/2022   ACH    Bank of America Business Card 7197                -12,854.59
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/06/2022   ACH    Be About You LLC                                   -4,250.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/06/2022   Wire   Janover LLC                                        -1,563.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/06/2022   Wire   Nassau Candy Distributors Inc.                     -1,464.95
               Cleared Transactions   Checks and Payments      Check             04/06/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Check             04/06/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   ACH    Lobster Place Wholesale Seafood                    -7,496.88
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3595   Trave Click                                        -6,609.55
               Cleared Transactions   Checks and Payments      Check             04/07/2022   ACH    Visa Chase Ink                                     -5,699.73
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   ACH    Sartor Inc.                                        -3,150.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3603   A boro National                                    -2,730.58
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3596   Amadeus Hospitality Americas, Inc                  -2,562.34
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   Wire   Mint Development...0696                            -2,370.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3599   IDEAS                                              -1,800.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   Wire   Janover LLC                                        -1,563.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3610   Karine Kochariani                                  -1,270.60
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3598   Fivepals, Inc.                                      -871.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3611   Fall Family LLC                                     -656.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3605   Robert Aloia                                        -600.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3607   Nick Bie lo                                         -600.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3606   Rich Greene                                         -500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3608   Lucina Valentine Mitsuko Sinclair                   -400.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3602   The Social Secretary LLC                            -278.82
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   3609   Julita Kropiwnicki                                  -159.96
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/07/2022   ACH    Empire Merchants, LLC.                                -65.00
               Cleared Transactions   Checks and Payments      Check             04/07/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Check             04/07/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3591   TechGrass                                         -12,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3614   Thousand Deep LLC                                  -4,460.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3627   Riviera Produce                                    -4,420.22
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3633   Royal Waste Services                               -4,371.33
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3624   Charter Linen & Laundry Service -Next Gen          -3,597.04
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3626   LM Media Worldwide, LLC.                           -2,898.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   ACH    Spectrum                                           -2,721.67
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   Wire   Mint Development...0696                            -2,392.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3632   Mann Sales LLC                                     -2,325.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3636   Safety Fire Sprinkler Corp.                        -2,313.59
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3638   Mill Lane Nursery Inc.                             -2,000.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3621   RMAC Supplies Co.                                  -1,854.04
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3623   La Bottega Dell'Albergo USA Inc                    -1,762.48
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3637   Promotion Depot                                    -1,507.10
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3613   John M. Burgos                                     -1,500.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3634   Protek                                             -1,272.91
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3629   Sogno Toscano Tuscan Dream                         -1,241.12
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3612   Cristian Ramirez                                   -1,200.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3628   D'Artagnan                                          -821.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3620   Poudel Kushal                                       -658.57
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3622   Guest Supply, LLC                                   -651.88
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3635   Hoodz of Nassau                                     -636.92
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   ACH    ASCOT Travel Services                               -459.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/08/2022   3594   Ana Fernandez                                       -400.00
               Cleared Transactions   Checks and Payments      Check             04/08/2022   ACH    TD Bank 1596                                          -30.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/11/2022   3640   Hea th Compliance NYC Inc.                          -600.00
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/11/2022   3642   Jaqueline Leticia Mequita Silva Oda                 -471.83
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/11/2022   3641   Carlos Cruz                                         -249.84
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/11/2022   3644   Huanhuan Ma                                           -35.62
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/12/2022   3651   Trave Click                                        -5,201.49
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/12/2022   3646   Aspen Travel                                       -1,650.30
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/12/2022   3647   The Appointment Group                              -1,578.53
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/12/2022   3645   Nexion LLC                                            -51.03
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/12/2022   3649   Lexyl Travel Technologies                             -47.61
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/13/2022   Wire   APLBC LTD.                                         -7,256.00
               Cleared Transactions   Checks and Payments      Check             04/13/2022   ACH    Visa Chase Ink                                     -5,685.52
               Cleared Transactions   Checks and Payments      Bill Pmt -Check   04/13/2022   WIRE   H & A Clarke, Inc                                  -4,000.00
               Cleared Transactions   Checks and Payments      Check             04/13/2022   EFT    American Express - Gold                            -2,501.59




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11:37 PM                                                             The Williamsburg Hotel
07/07/22
       21-22108-shl           Doc 628             Filed 07/20/22             Entered
                                                                  Reconciliation      Detail 07/20/22 16:51:34                                            Main Document
                                                   1103500 TD Mgmt Main Account...1596, Period Ending 04/30/2022
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                                                                      Type             Date      Num                         Name                   Clr     Amount

               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/13/2022   ACH    Lobster Place Wholesale Seafood                     -2,010.19
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/13/2022   3657   Hoodz of Nassau                                       -636.92
               Cleared Transactions   Checks and Payments         Check             04/13/2022   ACH    TD Bank 1596                                           -50.00
               Cleared Transactions   Checks and Payments         Check             04/13/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/13/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/13/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/14/2022   ACH    YVESDARBOUZE CORP (FARMACIST)                       -5,000.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/14/2022   3639   Camilo Trujillo                                       -500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/14/2022   ACH    NYC Water Board                                       -157.65
               Cleared Transactions   Checks and Payments         Check             04/14/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   Wire   Dairyland USA Corp.                                -18,908.22
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   Wire   Dairyland USA Corp.                                -14,493.72
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3668   Big Blue Beer Distributor                           -3,056.66
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3666   Karine Kochariani                                   -2,804.89
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   Wire   Mint Development...0696                             -2,385.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3653   Shlomotions Entertainment                           -1,500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3664   Robert Aloia                                        -1,400.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3667   Fall Family LLC                                       -644.80
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3669   Nick Bie lo                                           -600.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3671   Ski Beer Sales                                        -581.85
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3659   Basic Music LLC                                       -500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3663   Rich Greene                                           -500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   3619   Joseph Clemente                                       -348.15
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/15/2022   ACH    Hea th Plus (Empire BCBS)                             -281.37
               Cleared Transactions   Checks and Payments         Check             04/15/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   ACH    Guard Insurance                                    -13,959.60
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3675   Charter Linen & Laundry Service -Next Gen           -3,564.14
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3687   JRS Productions Inc. (JonathanS)                    -3,149.10
               Cleared Transactions   Checks and Payments         Check             04/18/2022   ACH    Guard Insurance                                     -3,000.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3672   RMAC Supplies Co.                                   -1,813.41
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3676   D'Artagnan                                          -1,550.95
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3673   New York Post                                       -1,496.72
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3688   ProPump                                             -1,252.06
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3678   Hoodz of Nassau                                       -636.92
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3674   Brooklyn Unplugged LLC                                -600.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3685   Raymond Artis                                         -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3684   Mahamadu Lamineh B Fisiru                             -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3680   Sheena Mason                                          -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3686   Selah Bucknal                                         -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3682   Matthew Legrand                                       -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3683   Ismael Gakou                                          -255.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/18/2022   3681   Khadiesha London                                      -255.00
               Cleared Transactions   Checks and Payments         Check             04/18/2022   ACH    Commuter Check Direct                                  -17.50
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/19/2022   Wire   Dairyland USA Corp.                                -15,353.05
               Cleared Transactions   Checks and Payments         Check             04/19/2022   ACH    Visa Chase Ink                                      -8,887.41
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/19/2022   ACH    Expedia, Inc.                                       -5,178.94
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/19/2022   ACH    YVESDARBOUZE CORP (FARMACIST)                       -5,000.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/19/2022   ACH    Riviera Produce                                     -3,268.97
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/19/2022   ACH    YVESDARBOUZE CORP (FARMACIST)                       -2,500.00
               Cleared Transactions   Checks and Payments         Check             04/19/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/20/2022   ACH    Booking.com                                        -13,400.42
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/20/2022   ACH    Lobster Place Wholesale Seafood                     -1,764.71
               Cleared Transactions   Checks and Payments         Check             04/20/2022   EFT    American Express - Gold                             -1,307.89
               Cleared Transactions   Checks and Payments         Check             04/20/2022   ACH    Intuit Quickbooks                                     -586.84
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3707   A boro National                                     -3,534.50
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   Wire   Mint Development...0696                             -2,467.50
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3702   John M. Burgos                                      -1,500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3705   Creative One Inc.                                   -1,180.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   WIRE   Nassau Candy Distributors Inc.                        -681.90
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3695   Fall Family LLC                                       -672.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3704   Nick Bie lo                                           -600.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3700   Camilo Trujillo                                       -500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3706   Robert Aloia                                          -400.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3701   Robert Aloia                                          -400.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3698   Ana Fernandez                                         -400.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/21/2022   3699   Dayna Canning                                         -150.00
               Cleared Transactions   Checks and Payments         Check             04/21/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/21/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/22/2022   ACH    Micros Retail Systems Inc.                            -994.99
               Cleared Transactions   Checks and Payments         Check             04/22/2022   ACH    A liance Laundry Services                             -324.85
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/22/2022   ACH    Southern Glazer's of NY Metro                         -120.20
               Cleared Transactions   Checks and Payments         Check             04/26/2022   ACH    Bank of America Business Card 7197                 -10,846.44
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/27/2022   3742   International Tile                                  -1,500.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/27/2022   ACH    Fidelis Care US                                       -737.47
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/28/2022   ACH    Riviera Produce                                     -4,900.97
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/28/2022   ACH    Empire Merchants, LLC.                              -3,718.25
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/28/2022   ACH    TripAdvisor                                           -788.33
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/28/2022   ACH    Fidelis Care US                                       -420.34
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/28/2022   3743   Big Geyser Inc.                                       -265.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   Wire   Dairyland USA Corp.                                -15,428.46
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   ACH    Oxford Health - Combined                           -13,321.72
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   ACH    Spectrum                                            -2,721.70
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   ACH    Winebow, Inc                                        -2,672.00
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   WIRE   Nassau Candy Distributors Inc.                      -2,620.03
               Cleared Transactions   Checks and Payments         Bill Pmt -Check   04/29/2022   Wire   Mint Development...0696                             -2,370.00
               Cleared Transactions   Checks and Payments         Check             04/29/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/29/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/29/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Checks and Payments         Check             04/29/2022   ACH    TD Bank 1596                                           -30.00
               Cleared Transactions   Total Checks and Payments                                                                                            -581,397.94




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11:37 PM                                                                    The Williamsburg Hotel
07/07/22
       21-22108-shl           Doc 628                     Filed 07/20/22             Entered
                                                                          Reconciliation      Detail 07/20/22 16:51:34                                           Main Document
                                                           1103500 TD Mgmt Main Account...1596, Period Ending 04/30/2022
                                                                            Pg 20 of 90

                                                                             Type             Date      Num                         Name                   Clr     Amount


               Cleared Transactions         Deposits and Credits         Bill Pmt -Check   07/22/2021   1555   Jennifer Sparks                                          0.00
               Cleared Transactions         Deposits and Credits         Bill Pmt -Check   02/11/2022   3255   BirchStreet Technologies, LLC                            0.00
               Cleared Transactions         Deposits and Credits         Bill Pmt -Check   03/04/2022   3411   BirchStreet Technologies, LLC                            0.00
               Cleared Transactions         Deposits and Credits         Bill Pmt -Check   04/07/2022   3597   BirchStreet Technologies, LLC                            0.00
               Cleared Transactions         Deposits and Credits         Bill Pmt -Check   04/07/2022   ACH    Sorbis                                                   0.00
               Cleared Transactions         Total Deposits and Credits                                                                                                   0.00
               Total Cleared Transactions                                                                                                                         -581,397.94


               Uncleared Transactions       Checks and Payments
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   05/03/2021   1049   K tchen Solutions                                    -1,977.30
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   05/03/2021   1036   Harney & Sons                                         -296.91
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   05/07/2021   1086   SevenRooms Inc.                                       -272.19
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   05/26/2021   1207   Krinsky Design                                       -3,000.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   06/03/2021   1225   Metro Electrical Contractors, Inc.                   -5,000.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   06/08/2021   Wire   Moshe Schepansky                                       -613.27
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   06/10/2021   1278   Rigolo Productions LLC                                 -900.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   06/18/2021   1321   Monte Cristo LLC (Matthias Wickenburg)                 -300.00
               Uncleared Transactions       Checks and Payments          Check             06/24/2021   1437   Joseph Gauthier                                        -302.97
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   06/30/2021   1424   K tchen Solutions                                    -1,665.26
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   07/08/2021   1464   Screening One                                        -4,459.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   07/08/2021   1474   SevenRooms Inc.                                       -544.38
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   07/28/2021   1588   K tchen Solutions                                    -2,165.26
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   08/02/2021   ACH    Winebow, Inc                                          -416.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   08/27/2021   1784   Macnair Sillick                                       -111.25
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   09/23/2021   1888   Douglas Diaz                                           -128.16
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   09/30/2021   1933   K tchen Solutions                                    -2,165.26
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   10/07/2021   1968   Big Geyser Inc.                                       -342.60
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   10/13/2021   2010   New Style Signs Ltd.                                   -310.29
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   10/22/2021   2513   Fall Family LLC                                        -736.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   11/04/2021   2626   Nassau Candy Distributors Inc.                       -1,136.63
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   11/15/2021   2739   SevenRooms Inc.                                       -544.38
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   12/01/2021   2832   Brouqueline, LLC                                       -400.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   12/23/2021   2928   Ra-yon Group Inc.                                      -300.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   01/05/2022   2997   Fine & Raw Chocolate                                 -1,158.75
               Uncleared Transactions       Checks and Payments          Check             01/07/2022   3024   NYC OATH                                               -375.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   01/27/2022   3106   Brooklyn Unplugged LLC                                  -75.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   01/28/2022   3160   Coffee of Grace                                       -625.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   01/28/2022   3147   Cristian Ramirez                                      -600.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   01/28/2022   3159   Bellocq, LLC                                          -223.38
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/04/2022   3191   Macnair Sillick                                         -28.60
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/11/2022   3758   Birch Street Systems, LLC                           -1,168.65
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/18/2022   3334   NYC & Company                                        -1,954.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/18/2022   3292   Michelle Price                                         -800.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/22/2022   3341   Metro Electrical Contractors, Inc.                   -2,500.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/22/2022   3344   PRODUCTIONHOTEL ApS                                   -561.50
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   02/25/2022   3359   Fall Family LLC                                        -624.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/01/2022   3370   Nassau Candy Distributors Inc.                       -1,129.06
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/04/2022   3408   Trave Click                                          -4,953.83
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/04/2022   3759   Birch Street Systems, LLC                           -1,168.65
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/04/2022   3418   Local Roots NYC LLC                                    -965.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/11/2022   3422   Paradigm Trends (Design America)                     -1,698.45
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/18/2022   3442   RMAC Supplies Co.                                   -1,771.46
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/18/2022   3443   Guest Supply, LLC                                     -370.37
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/22/2022   3470   Bellocq, LLC                                        -1,115.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   03/24/2022   3485   Paradigm Trends (Design America)                     -1,698.45
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/01/2022   3553   Aurora Hardware and Locksmith                        -1,240.51
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/01/2022   3540   Bellocq, LLC                                        -1,031.89
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/01/2022   3559   Kristiana Roemer                                      -450.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/04/2022   3588   Jetty Woodwork                                         -840.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/07/2022   3593   Metro Electrical Contractors, Inc.                   -2,500.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/07/2022   3760   Birch Street Systems, LLC                           -1,168.64
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/07/2022   3604   E la Darr                                             -550.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/08/2022   ACH    National Grid-11451 Kitchen                          -5,215.09
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/08/2022   ACH    Santec Inc. (Cleanslate)                             -2,023.55
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/08/2022   3592   Grind House Strategies LLC                           -1,690.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/08/2022   3630   Blue Moon Acres                                       -296.68
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/11/2022   3643   Charlotte Alarcon                                       -67.03
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/12/2022   3650   Event Premiere                                       -4,034.30
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/12/2022   3652   Fredrickson Studios                                   -750.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/12/2022   3648   A t tudes Travel                                       -216.50
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/13/2022   3656   Metro Electrical Contractors, Inc.                  -2,500.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/13/2022   3655   Arctic Glacier - Icesurance                           -955.92
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/13/2022   3654   H & A Clarke, Inc                                      -187.25
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/15/2022   3662   Sarah Cabral                                        -1,000.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/15/2022   3670   Cristian Ramirez                                      -600.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/15/2022   3661   Laeticia Harrison-Roberts                             -300.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/18/2022   3677   GdeP Inc.                                           -1,507.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3691   LM Media Worldwide, LLC.                            -3,421.50
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3694   Horticu tural Creations                             -3,164.45
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3692   Mann Sales LLC                                      -2,000.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3693   The Regency Group                                   -1,623.52
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3690   A tour - LA 2                                       -1,173.75
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/19/2022   3689   The Appointment Group LLC                              -25.11
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/21/2022   3697   Wh te Plains Linen                                  -1,686.49
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/21/2022   3696   Karine Kochariani                                   -1,315.70
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/21/2022   3703   Laeticia Harrison-Roberts                             -300.00
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/27/2022   3722   JC & JC Cleaners Inc. (The Dry Cleaner)             -7,130.75
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/27/2022   3721   Charter Linen & Laundry Service -Next Gen           -6,353.24
               Uncleared Transactions       Checks and Payments          Bill Pmt -Check   04/27/2022   3730   Trave Click                                         -5,828.24




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11:37 PM                                                                   The Williamsburg Hotel
07/07/22
       21-22108-shl           Doc 628                    Filed 07/20/22             Entered
                                                                         Reconciliation      Detail 07/20/22 16:51:34                                         Main Document
                                                          1103500 TD Mgmt Main Account...1596, Period Ending 04/30/2022
                                                                           Pg 21 of 90

                                                                            Type             Date      Num                         Name                 Clr     Amount

               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3731   Champion Elevator Corp.                           -2,867.96
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3711   La Bottega Dell'Albergo USA Inc                   -2,468.70
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3719   The Regency Group                                 -2,343.73
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3717   Bedell North Fork                                 -2,184.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3712   Greenpoint Floral Co.                             -2,182.95
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3732   Protek                                            -2,063.05
               Uncleared Transactions      Checks and Payments          Check             04/27/2022   3727   Raimondi Law, P.C.                                -2,000.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3741   Mann Sales LLC                                    -2,000.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3735   Power House Generators                            -1,959.75
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3718   Gray Matter Networks                              -1,774.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3708   RMAC Supplies Co.                                 -1,686.97
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3738   Safety Fire Sprinkler Corp.                       -1,596.56
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3737   County Fire Inc.                                   -1,509.01
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3736   Pure Green Carpet Inc.                            -1,500.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3710   Moviebeam                                         -1,351.09
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3728   City Marshal Henry Daley                          -1,200.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3716   GdeP Inc.                                         -1,067.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3739   Paul Signs Inc.                                   -1,061.53
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3715   D'Artagnan                                        -1,051.21
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3740   ScentAir Technologies                               -978.53
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3724   Big Blue Beer Distributor                           -849.52
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3723   AUTOTAP Corporation                                 -685.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3733   Fiero Group                                         -604.26
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3720   Cristian Ramirez                                    -600.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3729   Micros Retail Systems Inc.                          -540.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3713   Innovation Shades                                   -408.28
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3725   Balter Sales Co.                                    -397.18
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3734   Hood Services 24, LLC                               -213.25
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/27/2022   3709   Guest Supply, LLC                                    -57.87
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/28/2022   3744   The Social Secretary LLC                          -4,000.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3754   Michelle Price                                    -4,000.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3745   Karine Kochariani                                 -1,309.52
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3753   Cristian Ramirez                                  -1,200.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3746   Wh te Plains Linen                                  -773.63
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3755   Fall Family LLC                                     -676.80
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3750   Need to Know Nightlife (Joseph Greiner)             -600.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3751   Nick Bie lo                                         -600.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3748   Basic Music LLC                                     -500.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3757   Park Developers & Builders Inc.                     -482.99
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3749   Lucina Valentine Mitsuko Sinclair                   -400.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3752   Robert Aloia                                        -400.00
               Uncleared Transactions      Checks and Payments          Bill Pmt -Check   04/29/2022   3747   Ana Fernandez                                       -400.00
               Uncleared Transactions      Total Checks and Payments                                                                                           -171,342.71


               Uncleared Transactions      Deposits and Credits         Bill Pmt -Check   02/11/2022   3262   I. Halper                                             0.00
               Uncleared Transactions      Deposits and Credits         Bill Pmt -Check   03/22/2022   3473   I. Halper                                             0.00
               Uncleared Transactions      Deposits and Credits         Bill Pmt -Check   04/01/2022   3543   I. Halper                                             0.00
               Uncleared Transactions      Deposits and Credits         Bill Pmt -Check   04/27/2022   3726   I. Halper                                             0.00
               Uncleared Transactions      Deposits and Credits         Bill Pmt -Check   04/29/2022   3756   I. Halper                                             0.00
               Uncleared Transactions      Total Deposits and Credits                                                                                                0.00
               Total Uncleared Transactions                                                                                                                    -171,342.71


               Register Balance as of 04/30/2022                                                                                                               752,740.65




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                                                              1103510 · TD Mgmt Payroll Account...1603, Period Ending 04/30/2022
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                                                                                          Type            Date            Num                     Name            Clr     Amount
                    Beginning Balance                                                                                                                                     197,809.49


                    Cleared Transactions                Checks and Payments
                    Cleared Transactions                Checks and Payments          General Journal   04/01/2022   PR032722-11   Payroll Entry                         -135,955.64
                    Cleared Transactions                Checks and Payments          General Journal   04/01/2022   PR032722-12   Payroll Entry                          -58,183.20
                    Cleared Transactions                Checks and Payments          General Journal   04/01/2022   PR032722-13   Payroll Entry                             -192.75
                    Cleared Transactions                Checks and Payments          Check             04/04/2022   ACH           Paychex - Payroll (EIB)                   -881.42
                    Cleared Transactions                Checks and Payments          General Journal   04/08/2022   PR040322-11   Payroll Entry                         -137,527.28
                    Cleared Transactions                Checks and Payments          General Journal   04/08/2022   PR040322-12   Payroll Entry                          -57,167.09
                    Cleared Transactions                Checks and Payments          General Journal   04/08/2022   PR040322-13   Payroll Entry                             -192.75
                    Cleared Transactions                Checks and Payments          Bill Pmt -Check   04/11/2022   EFT           IRS                                    -11,538.67
                    Cleared Transactions                Checks and Payments          Check             04/11/2022   ACH           Paychex - Payroll (EIB)                   -972.12
                    Cleared Transactions                Checks and Payments          General Journal   04/15/2022   PR041022-11   Payroll Entry                         -138,276.66
                    Cleared Transactions                Checks and Payments          General Journal   04/15/2022   PR041022-12   Payroll Entry                          -58,649.03
                    Cleared Transactions                Checks and Payments          Check             04/15/2022   ACH           Paychex - Time & Attend (HRS)             -374.11
                    Cleared Transactions                Checks and Payments          General Journal   04/15/2022   PR041022-13   Payroll Entry                             -192.75
                    Cleared Transactions                Checks and Payments          Check             04/18/2022   ACH           Paychex - Payroll (EIB)                   -921.03
                    Cleared Transactions                Checks and Payments          General Journal   04/20/2022   OAB0422       Paychex - Timeclock (OAB)                -1,592.84
                    Cleared Transactions                Checks and Payments          General Journal   04/22/2022   PR041722-11   Payroll Entry                         -140,102.29
                    Cleared Transactions                Checks and Payments          General Journal   04/22/2022   PR041722-12   Payroll Entry                          -57,933.11
                    Cleared Transactions                Checks and Payments          General Journal   04/22/2022   PR041722-13   Payroll Entry                             -192.75
                    Cleared Transactions                Checks and Payments          Check             04/25/2022   ACH           Paychex - Payroll (EIB)                   -967.23
                    Cleared Transactions                Checks and Payments          General Journal   04/29/2022   PR042422-11   Payroll Entry                         -147,344.31
                    Cleared Transactions                Checks and Payments          General Journal   04/29/2022   PR042422-12   Payroll Entry                          -61,506.54
                    Cleared Transactions                Checks and Payments          General Journal   04/29/2022   PR042422-13   Payroll Entry                             -192.75
                    Cleared Transactions                Checks and Payments          Check             04/29/2022                 TD Bank 1603                                -30.00
                    Cleared Transactions                Total Checks and Payments                                                                                       -1,010,886.32


                    Cleared Transactions                Deposits and Credits         General Journal   04/04/2022   ReturnCh      Frederick Wakkary                          354.99
                    Cleared Transactions                Deposits and Credits         General Journal   04/04/2022   ReturnCh      Frederick Wakkary                          359.88
                    Cleared Transactions                Deposits and Credits         General Journal   04/04/2022   ReturnCh      Frederick Wakkary                          410.02
                    Cleared Transactions                Deposits and Credits         General Journal   04/04/2022   ReturnCh      Frederick Wakkary                          431.37
                    Cleared Transactions                Deposits and Credits         General Journal   04/21/2022   TPS TAXES     Payroll Entry                            7,356.89
                    Cleared Transactions                Deposits and Credits         General Journal   04/27/2022                 Md J Abden                                 296.49
                    Cleared Transactions                Deposits and Credits         General Journal   04/27/2022                 Md J Abden                                 938.90
                    Cleared Transactions                Total Deposits and Credits                                                                                         10,148.54
                    Total Cleared Transactions                                                                                                                          -1,000,737.78


                    Uncleared Transactions              Deposits and Credits
                    Uncleared Transactions              Deposits and Credits         General Journal   12/31/2021   OAB0123RR                                                   0.48
                    Uncleared Transactions              Total Deposits and Credits                                                                                              0.48
                    Total Uncleared Transactions                                                                                                                                0.48


                    Register Balance as of 04/30/2022                                                                                                                   1,000,737.30




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                                             1103520 TD Mgmt Reserve 23 of 90Period Ending 04/30/2022

                                                                                      Type            Date       Num    Name     Clr    Amount
                  Beginning Balance                                                                                                    11,075.66


                  Cleared Transactions                Checks and Payments
                  Cleared Transactions                Checks and Payments         Bill Pmt -Check   04/22/2022   ACH   NYS DTF        -53,023.23
                  Cleared Transactions                Total Checks and Payments                                                        -53,023.23


                  Register Balance as of 04/30/2022                                                                                    -53,023.23




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                      The Williamsburg Hotel
                          Balance Sheet
        Period Ending                                          30-Apr-22

        Assets
        Cash And Cash Equivalents                       $    2,852,225.20
        Cash - Sales Tax Reserve                        $      326,846.14
        Net Receivables                                 $       96,421.82
        Inventory                                       $      289,242.77
        Net Property Plant and Equipment                $   91,602,103.25
        Prepaid Expenses                                $       94,676.30
        Prepaid Property Tax                            $      212,150.57
        Prepaid Insurance                               $      288,621.33
        Total Assets                                    $   95,762,287.38

        Liabilities
        Accounts Payable                                $    1,175,938.48
        Advance Deposits                                $      770,410.58
        Accrued Payroll & Employer Taxes                $      160,114.31
        Accrued Sales Tax (Rooms)                       $      266,007.53
        Accrued Sales Tax (F&B)                         $       60,838.61
        Long Term Debt                                  $   83,517,769.95
        Other Liabilities                               $        3,370.00
        Total Liabilities                               $   85,954,449.46

        Stockholders' Equity
        Preferred Stock                                 $     4,000,000.00
        Common Stock                                    $    29,346,763.78
        Retained Earnings                               $   (23,936,856.93)
        Net Income                                      $       397,931.07
        Total Stockholder Equity                        $     9,807,837.92

        Total Liabilities + Stockholders' Equity        $   95,762,287.38
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                                                                     STATEMENT OF ACCOUNT


     THE WILLIAMSBURG HOTEL BK LLC
     PAYROLL ACCOUNT                                                 Page:                                  3 of 3
                                                                     Statement Period:    Apr 01 2022-Apr 30 2022
                                                                     Cust Ref #:                    603-719-E-***
                                                                     Primary Account #:                      1603




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/01                    CCD DEBIT, PAYCHEX PAYROLL 96682500002095X                                           135,955.64
04/01                    CCD DEBIT, PAYCHEX TPS TAXES 96683400004699X                                          58,183.20
04/01                    CCD DEBIT, PAYCHEX CGS GARNISH COL0103125792                                             192.75
04/04                    CCD DEBIT, PAYCHEX EIB INVOICE X96693300050101                                           881.42
04/08                    CCD DEBIT, PAYCHEX PAYROLL 96781900000998X                                           137,527.28
04/08                    CCD DEBIT, PAYCHEX TPS TAXES 96777800001494X                                          57,167.09
04/08                    CCD DEBIT, PAYCHEX CGS GARNISH COL0103245681                                             192.75
04/11                    CCD DEBIT, IRS USATAXPYMT 270250165570336                                             11,538.67
04/11                    CCD DEBIT, PAYCHEX EIB INVOICE X96783400007199                                           972.12
04/15                    CCD DEBIT, PAYCHEX - RCX PAYROLL 96872200000539X                                     138,276.66
04/15                    CCD DEBIT, PAYCHEX TPS TAXES 96866800004952X                                          58,649.03
04/15                    CCD DEBIT, PAYCHEX-HRS HRS PMT 39814371                                                  374.11
04/15                    CCD DEBIT, PAYCHEX CGS GARNISH COL0103357832                                             192.75
04/18                    CCD DEBIT, PAYCHEX EIB INVOICE X96874700019656                                           921.03
04/20                    CCD DEBIT, PAYCHEX-OAB INVOICE 96917200014468X                                         1,592.84
04/22                    CCD DEBIT, PAYCHEX - RCX PAYROLL 96961900000756X                                     140,102.29
04/22                    CCD DEBIT, PAYCHEX TPS TAXES 96958000000745X                                          57,933.11
04/22                    CCD DEBIT, PAYCHEX CGS GARNISH COL0103472890                                             192.75
04/25                    CCD DEBIT, PAYCHEX EIB INVOICE X96961700003130                                           967.23
04/29                    CCD DEBIT, PAYCHEX-RCX PAYROLL 97053600000765X                                       147,344.31
04/29                    CCD DEBIT, PAYCHEX TPS TAXES 97051000002361X                                          61,506.54
04/29                    CCD DEBIT, PAYCHEX CGS GARNISH COL0103587110                                             192.75
                                                                                          Subtotal:         1,010,856.32
Service Charges
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/29                    MAINTENANCE FEE                                                                             30.00
                                                                                          Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                                BALANCE                DATE                                 BALANCE
03/31                                           197,809.49                 04/18                               3,885.48
04/01                                             3,477.90                 04/20                               2,292.64
04/04                                             4,152.74                 04/21                             208,877.68
04/07                                           200,039.86                 04/22                              10,649.53
04/08                                            16,691.41                 04/25                               9,682.30
04/11                                             4,180.62                 04/27                              10,917.69
04/14                                           202,299.06                 04/28                             220,961.29
04/15                                             4,806.51                 04/29                              11,887.69

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Bank Deposits FDIC Insured TD Bank, N.A. Equal Housing Lender
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     THE WILLIAMSBURG HOTEL BK LLC
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                                                                                         Statement Period:               Apr 01 2022-Apr 30 2022
                                                                                         Cust Ref #:                              1596-719-E-***
                                                                                         Primary Account #:                                 1596




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE             DESCRIPTION                                                                                                                        AMOUNT
04/21                    eTransfer Credit, Online Xfer                                                                                                52,253.88
                            Transfer from CK 4384910935
04/28                    eTransfer Credit, Online Xfer                                                                                                53,998.72
                            Transfer from CK 4384910935
04/29                    eTransfer Credit, Online Xfer                                                                                                37,354.86
                            Transfer from CK 4384910935

                                                                                                                         Subtotal:                  628,365.82
Checks Paid              No. Checks: 186       *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                  SERIAL NO.                        AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
04/21                    3114                             89.64                                 04/04                     3492                          2,313.77
04/25                    3149*                            43.58                                 04/05                     3493                          4,000.00
04/04                    3183*                        1,850.00                                  04/11                     3500*                             500.00
04/11                    3373*                          624.00                                  04/04                     3503*                             400.00
04/04                    3375*                        1,400.00                                  04/11                     3505*                             644.80
04/07                    3378*                          200.00                                  04/19                     3506                              520.00
04/11                    3391*                          656.00                                  04/01                     3507                        13,022.50
04/04                    3415*                          253.60                                  04/05                     3509*                         3,818.76
04/11                    3440*                          640.00                                  04/06                     3510                          2,237.48
04/06                    3445*                          226.20                                  04/05                     3511                              459.24
04/04                    3449*                          950.00                                  04/25                     3512                          1,280.63
04/15                    3454*                        3,570.00                                  04/05                     3513                          3,919.50
04/15                    3463*                        1,182.00                                  04/04                     3514                          4,063.29
04/06                    3465*                        1,151.66                                  04/06                     3515                          1,762.48
04/04                    3468*                          349.65                                  04/05                     3516                          3,981.60
04/01                    3469                           625.00                                  04/06                     3517                          3,223.79
04/01                    3471*                          105.00                                  04/06                     3520*                         1,312.22
04/01                    3477*                        1,339.16                                  04/05                     3521                              977.00
04/06                    3478                           865.56                                  04/06                     3522                          1,500.00
04/04                    3479                         1,524.25                                  04/04                     3523                          2,252.84
04/01                    3482*                        1,045.31                                  04/04                     3524                          1,134.38
04/15                    3487*                        1,078.62                                  04/05                     3525                          2,036.00
04/15                    3488                         4,530.57                                  04/05                     3526                          2,500.00
04/04                    3489                         1,000.00                                  04/06                     3529*                         7,500.00
04/06                    3490                         5,171.48                                  04/11                     3535*                             592.00
04/04                    3491                         2,000.00                                  04/01                     3536                          2,798.69


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Bank Deposits FDIC Insured TD Bank, N.A. Equal Housing Lender
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                                                                                         Statement Period:               Apr 01 2022-Apr 30 2022
                                                                                         Cust Ref #:                              1596-719-E-***
                                                                                         Primary Account #:                                 1596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)                        *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                  SERIAL NO.                        AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
04/07                    3537                         4,427.95                                  04/18                     3575                              600.00
04/04                    3538                         1,238.00                                  04/05                     3576                          3,901.88
04/06                    3539                         2,500.00                                  04/12                     3577                          1,867.50
04/05                    3541*                          345.00                                  04/06                     3578                          3,483.24
04/05                    3542                         1,216.36                                  04/05                     3580*                         2,500.00
04/25                    3544*                            55.00                                 04/04                     3581                          2,000.00
04/04                    3545                         2,176.51                                  04/15                     3582                              435.50
04/05                    3546                         2,361.69                                  04/07                     3583                              187.33
04/04                    3547                           470.00                                  04/13                     3584                          1,062.35
04/06                    3548                         4,697.96                                  04/06                     3585                              719.20
04/04                    3549                         2,099.49                                  04/08                     3586                          1,873.00
04/13                    3550                         1,589.62                                  04/04                     3587                          2,890.15
04/06                    3551                           925.44                                  04/12                     3589*                             150.00
04/04                    3552                           624.21                                  04/11                     3590                        12,500.00
04/06                    3554*                          954.00                                  04/07                     3591                        12,500.00
04/04                    3555                         2,613.50                                  04/08                     3594*                             400.00
04/01                    3556                             22.45                                 04/18                     3595                          6,609.55
04/22                    3557                         1,624.11                                  04/19                     3596                          2,562.34
04/06                    3558                         1,200.00                                  04/15                     3598*                             871.00
04/21                    3560*                          400.00                                  04/19                     3599                          1,800.00
04/07                    3561                           400.00                                  04/08                     3602*                             278.82
04/12                    3562                           520.00                                  04/11                     3603                          2,730.58
04/15                    3563                           910.00                                  04/13                     3605*                             600.00
04/25                    3564                         1,565.61                                  04/12                     3606                              500.00
04/14                    3565                         1,824.81                                  04/12                     3607                              600.00
04/05                    3566                         4,000.00                                  04/11                     3608                              400.00
04/05                    3567                           342.10                                  04/11                     3609                              159.96
04/04                    3568                         2,000.00                                  04/12                     3610                          1,270.60
04/05                    3569                         1,200.00                                  04/11                     3611                              656.00
04/05                    3570                         2,313.60                                  04/11                     3612                          1,200.00
04/01                    3571                           615.14                                  04/11                     3613                          1,500.00
04/04                    3572                         5,000.00                                  04/12                     3614                          4,460.00
04/06                    3573                         1,247.75                                  04/08                     3615                               19.46
04/01                    3574                         4,500.00                                  04/08                     3616                              103.01


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                                                                                         Primary Account #:                                 1596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)                        *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                  SERIAL NO.                        AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
04/25                    3617                           318.08                                  04/21                     3664                          1,400.00
04/12                    3618                         1,084.60                                  04/19                     3666*                         2,804.89
04/08                    3619                           348.15                                  04/18                     3667                              644.80
04/11                    3620                           658.57                                  04/15                     3668                          3,056.66
04/14                    3621                         1,854.04                                  04/19                     3669                              600.00
04/15                    3622                           651.88                                  04/21                     3671*                             581.85
04/21                    3623                         1,762.48                                  04/25                     3672                          1,813.41
04/14                    3624                         3,597.04                                  04/26                     3673                          1,496.72
04/15                    3626*                        2,898.00                                  04/29                     3674                              600.00
04/14                    3627                         4,420.22                                  04/25                     3675                          3,564.14
04/15                    3628                           821.00                                  04/26                     3676                          1,550.95
04/18                    3629                         1,241.12                                  04/29                     3678*                             636.92
04/14                    3632*                        2,325.00                                  04/19                     3680*                             255.00
04/21                    3633                         4,371.33                                  04/21                     3681                              255.00
04/18                    3634                         1,272.91                                  04/19                     3682                              255.00
04/22                    3635                           636.92                                  04/19                     3683                              255.00
04/14                    3636                         2,313.59                                  04/19                     3684                              255.00
04/18                    3637                         1,507.10                                  04/19                     3685                              255.00
04/26                    3638                         2,000.00                                  04/19                     3686                              255.00
04/12                    3639                           500.00                                  04/19                     3687                          3,149.10
04/18                    3640                           600.00                                  04/19                     3688                          1,252.06
04/15                    3641                           249.84                                  04/25                     3695*                             672.00
04/18                    3642                           471.83                                  04/25                     3698*                             400.00
04/18                    3644*                            35.62                                 04/27                     3699                              150.00
04/19                    3645                             51.03                                 04/25                     3700                              500.00
04/25                    3646                         1,650.30                                  04/27                     3701                              400.00
04/29                    3647                         1,578.53                                  04/25                     3702                          1,500.00
04/18                    3649*                            47.61                                 04/27                     3704*                             600.00
04/18                    3651*                        5,201.49                                  04/29                     3705                          1,180.00
04/15                    3653*                        1,500.00                                  04/27                     3706                              400.00
04/29                    3657*                          636.92                                  04/22                     3707                          3,534.50
04/25                    3659*                          500.00                                  04/28                     3742*                         1,500.00
04/19                    3663*                          500.00                                  04/29                     3743                              265.00
                                                                                                                         Subtotal:                  316,237.22

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DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/29                    WIRE     TRANSFER OUTGOING, Mint Development Corp                                      2,370.00
04/29                    WIRE     TRANSFER FEE                                                                     30.00
04/29                    WIRE     TRANSFER FEE                                                                     30.00
04/29                    WIRE     TRANSFER FEE                                                                     30.00
                                                                                          Subtotal:            98,275.83
Service Charges
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/29                    MAINTENANCE FEE                                                                             30.00
                                                                                          Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                                BALANCE                DATE                                 BALANCE
03/31                                            52,071.12                 04/15                              49,348.98
04/01                                            25,568.87                 04/18                              63,894.34
04/04                                             7,364.23                 04/19                              79,320.17
04/05                                            24,511.25                 04/20                              62,260.31
04/06                                               744.84                 04/21                             102,444.49
04/07                                            81,810.11                 04/22                              95,208.92
04/08                                            73,185.00                 04/25                              81,346.17
04/11                                            49,723.09                 04/26                              65,452.06
04/12                                            89,044.22                 04/27                              63,164.59
04/13                                           114,230.99                 04/28                             105,835.42
04/14                                            73,800.42                 04/29                              99,039.00




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                                                                     Primary Account #:                      0935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/26                    ACH DEPOSIT, PULSD INC. VERIFY 016TKUTML27BH18                                             0.01
04/27                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                                     67,128.97
04/27                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                     13,999.11
04/28                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                                     70,678.17
04/28                    CCD DEPOSIT, WISE INC 04292022 04292022                                               32,681.85
04/28                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                      5,453.33
04/29                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                                     39,443.75
04/29                    CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                      5,134.77
                                                                                          Subtotal:         2,048,725.80
Other Credits
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/01                    WIRE     TRANSFER INCOMING, FINSBURY GLOVER HERING US LLC                             26,298.84
04/11                    WIRE     TRANSFER INCOMING, ELLIDORE EVENTS LIMITED                                   34,527.13
04/15                    WIRE     TRANSFER INCOMING, MATERNE NORTH AMERICA CORP                                20,660.42
04/19                    WIRE     TRANSFER INCOMING, ELLIDORE EVENTS LIMITED                                    1,347.33
04/26                    WIRE     TRANSFER INCOMING, PHREESIA INC                                               5,613.87
                                                                                          Subtotal:            88,447.59
Electronic Payments
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/01                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                0.27
04/04                    eTransfer Debit, Online Xfer                                                          26,920.50
                            Transfer to CK 4380021596
04/04                    CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                                      8,292.08
04/04                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                              988.35
04/04                    CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                         679.28
04/05                    eTransfer Debit, Online Xfer                                                          47,672.19
                            Transfer to CK 4380021596
04/05                    eTransfer Debit, Online Xfer                                                          18,908.22
                            Transfer to CK 4380021596
04/06                    eTransfer Debit, Online Xfer                                                          37,104.59
                            Transfer to CK 4380021596
04/07                    eTransfer Debit, Online Xfer                                                         195,887.12
                            Transfer to CK 4380021603
04/07                    eTransfer Debit, Online Xfer                                                          62,773.55
                            Transfer to CK 4380021596
04/07                    eTransfer Debit, Online Xfer                                                          56,411.61
                            Transfer to CK 4380021596
04/07                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                0.61
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002602016                                    61,983.96
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002603014                                    11,918.80

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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE             DESCRIPTION                                                                             AMOUNT
04/08                    eTransfer Debit, Online Xfer                                                          11,538.67
                            Transfer to CK 4380021603
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002609011                                     6,526.80
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002604012                                     4,422.36
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002606017                                     2,365.09
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002605019                                       154.50
04/08                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002607015                                       154.50
04/11                    CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                        80.31
04/12                    eTransfer Debit, Online Xfer                                                          50,273.83
                            Transfer to CK 4380021596
04/13                    eTransfer Debit, Online Xfer                                                          64,525.76
                            Transfer to CK 4380021596
04/13                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                1.16
04/14                    eTransfer Debit, Online Xfer                                                         198,118.44
                            Transfer to CK 4380021603
04/18                    eTransfer Debit, Online Xfer                                                          49,754.49
                            Transfer to CK 4380021596
04/19                    eTransfer Debit, Online Xfer                                                          70,413.62
                            Transfer to CK 4380021596
04/20                    CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                       400.00
04/20                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                1.37
04/21                    eTransfer Debit, Online Xfer                                                         199,228.15
                            Transfer to CK 4380021603
04/21                    eTransfer Debit, Online Xfer                                                         117,697.92
                            Transfer to CK 4380021611
04/21                    eTransfer Debit, Online Xfer                                                          52,253.88
                            Transfer to CK 4380021596
04/21                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002602016                                    31,333.22
04/21                    ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002602016                                     1,311.02
04/22                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                0.17
04/25                    CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                         6.64
04/25                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                1.66
04/27                    CCD DEBIT, QUARTERLY FEE PAYMENT 0000                                                 41,110.00
04/28                    eTransfer Debit, Online Xfer                                                         210,043.60
                            Transfer to CK 4380021603
04/28                    eTransfer Debit, Online Xfer                                                          53,998.72
                            Transfer to CK 4380021596
04/28                    CCD DEBIT, FISERV MERCHANT FEE ****03671884                                                0.20
04/29                    eTransfer Debit, Online Xfer                                                          37,354.86
                            Transfer to CK 4380021596

                                                                                          Subtotal:         1,732,612.07


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DAILY BALANCE SUMMARY
DATE                                                BALANCE                DATE                                 BALANCE
03/31                                        1,601,115.15                  04/15                           1,758,420.33
04/01                                        1,692,840.23                  04/18                           1,940,422.90
04/04                                        1,817,513.84                  04/19                           1,928,809.01
04/05                                        1,816,543.19                  04/20                           2,038,965.72
04/06                                        1,902,902.78                  04/21                           1,740,390.47
04/07                                        1,663,318.08                  04/22                           1,818,177.75
04/08                                        1,596,466.00                  04/25                           2,020,238.54
04/11                                        1,801,133.17                  04/26                           2,113,663.90
04/12                                        1,821,066.11                  04/27                           2,153,681.98
04/13                                        1,835,991.45                  04/28                           1,998,452.81
04/14                                        1,691,110.91                  04/29                           2,005,676.47




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